To: Sunny Balw

OO eee Tee SOeS8 EID Document 1005-6 Filed 09/07/21 Page 1 of 1

Sent: Thur 6/25/2015 7:52:13 PM

Importance: Normal
Subject: Please approve this wire
Received: Thur 6/25/2015 7:52:15 PM

P2162 Revised signed.pdf

httos://wellsoffice.wellsfargo.com/ceoportal/signon/index.isp

Company ID — thera304
User ID ~ balwr706

Hi Sunny,

This wire is requested by Heather/Evan and is for the reference matter of Erika Cheung and Tyler Shultz. | am attaching the

engagement letter between BSF and Interfor.

If you need more info before you approve, please let me know.

 

 

 

 

 

Thanks,
Danise
Beneficiary Amount Comments
T__| interfor 524,552.30 | (ca! — as
| |

 

 

From: Danise Yam

Confidential

 

   

 

(450 28 552.30

 

02220704

THPFM0005636527
SEC2-USAO-EPROD-001504407

 
